1 IN THE UNITED STATES DISTRICT COURT

2 FOR THE EASTERN DISTRICT OF TENNESSEE

4 HANNAH ASHBROOK,
5 Plaintiff,
No. 1:24-CV-00165-CLC-SKL

6 Vv.

7 METGS COUNTY, TENNESSEE,
ET AL,

ee ee a ee 8

Defendants.

October 14th, 2024
11 Decatur, Tennessee

13 DEPOSITION OF SAMUEL WHITING

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SAMUEL WHITING

called as a witness, being first duly sworn, was examined

and deposed as follows:

EXAMINATION

BY MR. CHANCEY:

Q. What's your name, sir?

A. Samuel Whiting.

Q. Mr. Whiting, have you ever given a
deposition before?

A. Yes, sir.

Q. On how many occasions?

A. There's one other occasion back prior to

me getting into law enforcement.

Q. Okay. What kind of case was that in?

A. It was a case that I was involved in
against THP. I had to go in for depositions on it.

Q. Okay. Well, my name's Franklin Chancey.
Have we ever met in person before?

A. No, sir.

Q. You've been served a subpoena to be here

today. Is that correct?

A. Yes, sir.
Q. Can you tell us your address, please?
A. My address is 355 Church Street, Decatur,

Tennessee,

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Q. What is your current occupation?

A. Current occupation, I'm currently
unemployed. I do work for some family as far as helping
to maintain rental within this area, but I do a little bit
-~ I'm more or less handyman at this point in time.

Q. Before you were doing that, what was your
job?

A. My job prior to that I served with the
Decatur City Police Department for approximately five
years.

Q. Do you have any other law enforcement

experience other than for the Decatur City Police

Department?
A. No, sir.
Q. Do you have a POST certification?
A. Yes.
Q. Have you been to the police academy?
A. Yes, Sir.
Q. When did you complete the academy?
A. Let's see, I believe that was December of

2019, I believe. Might have been '18 actually when I
graduated from that.

Q. And so when did you leave your position
with Decatur City?

A. I left my position in February of '24.

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1 Q. What were the circumstances under which

2 you left that employment?

3 A. To be honest, part of it was I just wasn't
4 making enough to sustain my family, pay our bills, stuff

5 like that. My wife was going through kind of a rocky spot
6 with her job and so I went into another job where I was

7 going to be getting paid more.

8 Q. Okay. So you're married.

9 A. Yes.

10 Q. And you have children?

1i A. Two.

12 Q. Two. How old are they?

13 A. Got a seven year old and a four year old.
14 Q. All right. When you were employed at

15 Decatur City Police Department what were your jobs?

16 A. Conduct traffic stops, do patrol,

17 investigating -- lightly. We didn't do as much of that.
18 We did have an investigator; but when I was employed there
19 during nights, night shift and everything, I did do some
20 investigating as well.

21 Q. As part of your job, did you have

22 occasions to come to the Meigs County Courthouse?

23 A. Yes, sir.

24 Q. What types of things would bring you to

25 the Meigs County Courthouse?

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1]}| was being called over.

2 Q. Okay. So tell me what you recall about

3 being at the Meigs County Courthouse that day?

4 A. So at the time of my arrival I was

5 currently standing outside the courthouse -- or, sorry,

6 not courthouse, the courtroom. I was out there speaking

7 with I believe it was Chief Malone and I believe there was
8 another county deputy out there. I can't recall who. When
9 I got to the top, prior to me speaking with them I did

10 notice that one of the deputies was going down the elevator
11 with a prisoner in custody, whom I believe if I remember

12 correctly was Steven -- I'm forgetting his last -- Kelsey.
13 Q. Okay. Was Steven Kelsey somebody you

14 knew?

15 A. He I believe at the time he was going to
16 court over an arrest that I had made on him prior.

17 Qu. Do you remember what the charges were?

18 A. I believe it was evading arrest and

19 driving on revoked license and I believe I recovered some
20 drugs on him as well.

21 Qs Do you remember what the drugs were?

22 A. I believe it might have been

23]/ methamphetamine.

24 Q. Were you at the courthouse because of

25 anything to do with Mr. Kelsey's case that day?

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A. At the time I was not aware.
Q. All right. So after you arrived at the

courthouse you came upstairs?

A. Yes, sir.
Q. So tell me what transpired after that.
A. So after the deputy took Mr. Kelsey down

the elevator, I was standing outside speaking with some of
the other deputies that were up there and I was approached
by Ms. Ashbrook. She was talking to me asking about her
boyfriend as far as what charges he was being charged with,
which I didn't know at the time as far as whether he was
being booked in over my charges or if it was something
else. I still don't know what all transpired. I think
they may have done a drug test on him as well.

Q. Okay.

A. But during the time that I was out there
speaking with her she was concerned for him and being a
little bit loud in the hallway, if I remember correctly.
I was trying to advise her as far as where she would have
to go as far as to see about getting him bonded out,
whatnot, and at that point in time it was ordered for her
to be given a drug test.

Q. Okay. I'm going to give you an
opportunity to see a video in this case.

A. Okay.

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with somebody.

Q. What time was that?
A. 11:25.
Q. All right. And do you recognize the

person walking in the hallway now?

A. Yes, sir. That would be Ms. Ashbrook.
Q. What time is that?

A. It's 11 -- 11:25.

Q. All right.

(Video playing.)

Q. What is Ms. Ashbrook doing?

A, Currently I think she's trying to figure
out why her boyfriend was taken into custody, if I
remember correctly.

Q. I apologize. What do you see her doing
is my question.

A. She appears to be upset. She's slid down
the wall to the floor standing outside Ms. Petitt's office
on the phone.

Q. Who is the officer approaching her?

A. Deputy Doyle and Detective Crowe.

(Video playing.)
Q. Who do you see in the video now?
A. Ms. Petitt, Detective Crowe, Ms. Ashbrook,

and myself.

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Q. If you can, narrate what you see moving
forward.

A. Currently all officers involved walk down
towards Ms. Petitt's office. I'm currently standing

outside of the door with Deputy Doyle and I believe they're
going over the test result.

(Video playing.)

Q. What do you see at this point?

A. At this point Ms. Ashbrook appears to be
in custody. I was requested to transport her to the jail.

Q. It appears you stopped and talked to

someone there. Who were you talking to?
A. I'm not a hundred percent sure. It would

have either been the judge or possibly I think Brian Malone

may be around the corner. I can't remember for certain.
Q. Do you recall the judge saying anything?
A. Not offhand.
Q. Okay. And did you then transport her to

the Meigs County Jail?
A. Yes, sir.
Q. All right.

MR. CHANCEY: Now, if I can get you to

pull up Camera 11.

MR. RANDOLPH: Same time stamp to start?

MR. CHANCEY: It's a little slightly off,

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seven

start

or eight seconds difference between them.

MR. RANDOLPH: About 11:20?

MR. CHANCEY: Yeah.

Q. (By Mr. Chancey) Okay, we're going to

this at 11:19:32 and can we agree that's a camera

looking in the opposite direction?

Camera 9?

appear.

time?

A. Yes, sir.

Q. From the one we just looked at on

A. Yes, sir.

Q. Let me know what time it is when you
A. Yes, sir.

(Video being played.)

A. 11:21.

Q. 11:21. Is Ms. Ashbrook present at that
A. Not at this time.

Q. It appears you're having a discussion.
A. Yes, sir.

Q. With who?

A. Judge Stokes,

Q. Do you recall what's being said?

A. No, Sir.

(Video playing.)

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Q. Tell us what you see now.
A. Right now I see Deputy Christian
transporting Steven Kelsey to the elevator. He's walked

off to retrieve something or talk to somebody.

Q. Is Mr. Kelsey in cuffs?

A. Yes, sir.

Q. And does he have anything in his hand?

A. He has a cell phone in his left hand.

Q. Is he stopped in front of the elevator?
A. Yes, sir.

Q. Tell us what time he enters the elevator.

(Video playing.)

Q. Did Judge Stokes pass Mr. Kelsey?

A. Yes, Sir. 11:24.

QO; 11:24?

A. Yes, sir.

Q. Now, where is the stairwell door?

A. It's toward the end of the hallway on
the left.

Q. I'd like you to tell me what time you

next see Ms. Ashbrook.
(Video playing.)
A. 11:25.
Q. 11:25. Do you know where you are at this

moment?

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1 A. Currently I'm standing between the metal

2 detector and the courtroom doors.

3 Q. What did you observe?

4 A. She appears to be upset. I believe this

5 is when we advised her that Steven was just taken back to

6 the jail and at this point in time is when it was advised

7 that she would be given a drug test, I believe.

8 Q. Who advised that she was going to be given

9 a drug test?

10 A. Judge Stokes.

11 Q. Did you overhear that?

12 A. Yes, Sir.

13 (Video stopped.)

14 Q. All right. You had an opportunity to see

15 the video.

16 A. Yes, sir.

17 Q. Is this the first time you've seen the
18 video?

19 A. Yes, Sir.

20 Q. Does it refresh your memory about the
21 sequence of events that occurred?

22 A. It does.

23 Q. All right. So when did you first see
24 Ms. Ashbrook?

25 A. When she approached toward the metal

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detector where we were standing.

Q. Did you overhear anything she said?

A. I don't recall anything she said. I know
that she was upset about Steven being arrested.

Q. Well, did someone tell her he'd been
arrested?

A. When she approached, I guess asking about
it, she was advised that he was being taken back into

custody and he'd already been brought down the elevator.

Q. Do you recall what she said?

A. No, not right offhand. I don't remember
details. I just know that she was upset about it.

Q. Did she engage in any conduct that you as

a law enforcement officer would have thought violated the
law?

A. She may have been a bit loud in the
hallway just as far as getting emotional with it. But
other than her acting up outside the courtroom doors I
can't think -- there's nothing there that I would say that
she physically broke any laws as far as her actions, I
don't believe.

Q. Would you have intended to arrest her for
disorderly conduct?

A. No, sir.

Q. Disturbing the peace?

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A. No, sir.
Q. You related that Judge Stokes said

to drug test her?

A. Yes, sir.
Q. What happened next?
A. At that point in time she was escorted

down to Ms. Petitt's office where they retrieved the drug
test and they proceeded back down to the women's bathroom.

Q. So what is the procedure when these tests
are being administered?

A. So the procedure with -- most of the time
the individuals that I deal with are the male individuals
and everything and Ms. Petitt typically does all the
female drug tests obviously. We usually stand by just as

security in case things got out of hand when it's a female

suspect.
Q. So the female suspect goes into the female
restroom.
A. Yes.
Q. And where are you located at that point?
A. Typically standing in the hallway or

outside the door.

Q. From looking at the video where were you

in this case?
A. In this case I was still down the hallway

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1 next to the courtroom doors, I believe.

2 Q. Could you tell who was at the door?

a A. I can't recall right offhand.

4 Q. All right.

5 A. I believe she may have been accompanied
6 by -- I know Ms. Petitt was accompanying her and at one

7 point or another I know I did walk down there, but I don't
8 remember how soon after.
9 Q. Okay. Were you present when Ms. Petitt

10 came out of the bathroom, --

11 A. Yes.

12 Q. -- out of the restroom?

13 A. Yes.

14 Q. Do you recall any discussion that took

15 place?

16 A. I don't remember any detail as far as

17 what was said. I do know at one point or another

18 Ms. Petitt did ask for assistance in the women's bathroom.
19 We believed that the suspect was giving her trouble; we

20 didn't know what the details were. After it was -- after
21 we found out that there wasn't any kind of physical

22 altercation or anything I believe from memory we exited

23 and they proceeded with the drug test.

24 Q. When you say giving her trouble, you mean

25 what?

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A. On occasion with these drug tests there
are suspects that tend to get a little rowdy with it and
they want to try to fight or refuse to do the drug test.
Ms. Petitt was hollering that she needed a deputy down

there from memory.

Q. Okay.
A. That's why we approached the door.
Q. Do you know what had transpired that

required Ms. Petitt to ask somebody to come down there?

23

A. No. From the sounds of it I think she was

just at that time refusing to do the drug test or arguing.

Q. Okay. So after the test was concluded
what took place?

A. At that point in time they went back to
Ms. Petitt's office where I believe they read the drug

results and everything and she was placed into custody.

Q. Were you present when the results were
read?

A. I was.

Q. Do you recall what they were?

A. I know she tested positive for multiple

different substances.
Q. And I assume that this is a urine test.
Is that right?

A. Yes, sir.

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1 A. No, sir.

2 Q. And you're often there when there's a

B drug test, correct?

4 A. Yes, sir.

5 Q. You had no reason to dispute the results

6 from Ms. Ashbrook's drug test, did you?

7 A. No.

8 Q. And when you were informed that Mr. Kelsey
9 had tested or had a dirty drug test that didn't surprise

10 you, did it?

11 A. No, sir.

12 Q. You had arrested Mr. Kelsey earlier in the
13} month for what you said, driving on revoked, evading

14 arrest, possession of drug paraphernalia, and possession

15 or something to do with methamphetamine?

16 A. Yes, Sir.

17 Q. Did you ever ask or was told what

18 Mr. Kelsey had tested for at the courthouse?

19 A. No, sir.

20 Q. You weren't in the courtroom at all that
21 day, were you?

22 A. No, sir.

23 Q. You didn't have an opportunity to observe
24 Mr. Kelsey or Ms. Ashbrook.

25 A. No, sir.

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Q. But when she learned about Mr. Kelsey
being arrested you observed her that she was upset about
that, correct?

A. Yes, sir.

Q. And you said that she was being loud in
the hallway, correct?

A. Yes, sir.

Q. And when you were transporting her -- did
you know her at all?

A. Other than just from past experiences
dealing with Steven. I've never had any actual issues with
her as far as having to arrest her or anything.

Q. Dealing with her, how did you deal with
her?

A. She's just usually with Steven. I just
recognized her from being with him.

Q. Was she with him the night that you
arrested him?

A. She did arrive on scene later, yes. She
wasn't in the vehicle at the time, but she showed up while

I was in the process of detaining him.

Q. Did she protest you arresting him?

A. Yes.

Q. How so?

A. Just verbally. There was no physical

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altercation.

2 Q. When you say verbally what did she do?
3 A. I'm sorry?

4 Q. What did she say?

5 A. I can't remember offhand what all she

6 said. I know there was a lot of curse words thrown my way
7 as well as that it was a wrongful arrest, that I was

8 harassing them.

9 Q. None of that was true, was it?

10 A. No, sir.

11 Q. So she was cursing you.

12 A. Yes.

13 Q. She told you that you were wrongfully

14 arresting him.

15 A. Yes.

L6 Q. And she told you, you were harassing them.
17 A. Yes, sir.

18 QO: Other than that particular arrest, you

19 have dealt with her in the past also?

20 A. Not necessarily dealt with her. I've had
21 issues --

22 Q. She was around when you dealt with

23 steven.

24 A. Yes, sir.

25 Q. Tell me is that more than one other

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occasion?
A. I believe I've had maybe two prior

occasions besides the arrest that I did on Steven.

Q. Okay. Were they at their --

A, At their residence.

Q. At their residence? Was this an
apartment?

A. Yes, sir.

Q. Tell me about one of those.

A. So one of those incidences it was a he

had some form of warrant, I can't remember what it was for,

but I went over there to serve the warrant.

Q. Okay. And you said you had interaction
with her.

A. Yes.

Q. Can you describe that?

A. I had a conversation with her at the door

prior to him being arrested.

Q. Do you recall what was said?

A. No, sir.

Q. Do you recall any of her actions?

A. No, sir.

Q. Did she allow you to serve the warrant?
A. Not at the time. Steven came out

willingly shortly after.

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Q. Okay. So he came out; she didn't let you
in.
A. Yes. Yeah, she denied that he was there.
I advised her that I knew he was there and shortly after
he ended up coming out.
Q. So she didn't tell you the truth about

whether or not he was there.

A. No, sir.

Q. In fact, she denied that he was present.
A. Yes, sir.

Q. But he obviously was present, wasn't he?
A. Yes, sir.

Q. And he came out and you served him with a

warrant, correct?

A. Correct.

Q. Did she curse you that day?

A. She did.

Q. She did?

A. Not nearly as bad as this last incident,
but she wasn't a very -- but she was not happy with me

arresting him.

Q. When you say not nearly as bad, what do
you mean? Let's talk about the last incident. She cursed
you pretty badly?

A. Yes. She was very upset about that

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incident.

Q. And that's when she came to the vehicle?

A. She -- I don't remember whose residence it
was. It was off of -- I can't remember the name of the
road -- the road leading to the dump.

Q. Okay.

A. There's a residence over there I believe

that may be one of his cousins' where he drove to.

Q. That's where you arrested him?
A. Yes.
Q. And that's one of the charges that I

spoke of earlier.

A. Yes, sir.

Q. And she came to that residence?

A. Yes.

Q. Do you know why she came to the residence?

A. I'm unsure.

Q. And that's when she cursed you pretty
badly.

A. Yes.

Q. And accused you of wrongful arrest and
harassment.

A. Yes, sir.

Q. Now, the time that you went to serve him

with a warrant did she accuse you of wrongfully arresting

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him?

A. I don't believe she accused me of wrongful
arrest. Like I say, I believe she did say a few choice
words and that she believed that it was BS that I was over
there serving the warrant.

Q. Okay.

A. But we didn't argue about it too much as
far as all I told her is that he was being arrested. I
told her what he was being arrested for and from there he

was taken into custody.

Q. Did she accuse you of harassing them in
any way?

A. Not at that point in time.

Q. Let's talk about when you say not at that

point in time you're talking about when she was there at
the arrest when you were serving the warrant?

A. Not when I was serving the warrant. That
was really -- I believe that may have been our first
interaction together.

Q. Okay. Now, you had another interaction
with Mr. Kelsey and Ms. Ashbrook at the same residence?

A. The last incident I believe I had out
there, and I don't think they had anything to do with --

I think they may have called, there was an apartment fire

out there.

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Q. Okay.

A. And nothing really transpired there.

Q. But you saw Mr. Kelsey and Ms. Ashbrook
there?

A. Yes.

Q. What were they doing there?

A. I believe they may have been the ones who

called in that they saw smoke coming from the apartment.
They were attempting to give me information as far as who
lived there, who may be possibly inside.

Q. Can you think of anything Ms. Ashbrook
said that day?

A. No, other than just describing the tenants
that lived there and that they may have a pet that was
inside the home at the time, which we were attempting to
locate.

Q. Tell me the process of this particular
time when you served the warrant. Did you physically take

Mr. Kelsey in custody that day?

A. Yes, sir.

Q. And you transported him to the jail?

A. Yes, sir.

Q. Did Ms. Ashbrook follow?

A. I don't believe so.

Q. So she understood you were removing him

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from residence.

A. Yes, sir.

Q. Back to the day where we saw the video,
you said that you had seen her sliding up and down the
wall?

A. Not up and down. At one point or another
she did slide down the wall when she was upset. I believe

she was on the phone.

Q. On her phone?

A. Yes.

Q. Do you know who she was calling?

A. No.

Q. Did at any time during this particular

incident on May llth, 2023, at this courthouse did you

ever hear her curse?

A. Not to my knowledge.

Q. Not in your presence.

A. Not in my presence.

Q. Did she ever say anything about Mr. Kelsey

being arrested, it was a wrongful arrest or more
harassment, anything like that?

A. Not that I recall. I'm trying to remember
as far as what was said out in the hallway area. Like I
said, I know she was upset, but I don't remember anything

being brought up as far as Steven other than her asking why

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he was being arrested and if she could bond him out, I
believe.
Q. Okay. You classified her as being upset.
What was it about what she was doing or saying that led

you to that conclusion?

A. Her body behavior as far as how she was
acting going up and down the hallway -- or going down the
hallway. She did have -- her voice was raised. I can't

remember for a fact if there was any actual yelling or if
she was just -- if it was raised. I mean, I know she was

not speaking in a normal tone.

Q. You've been upstairs many times, correct?
A. Yes, sir.
Q. And business that's going on in the

Sessions Court is often conducted out in the hallway. Is

that correct?

A. At times.

Q. Lawyers talk to their clients?

A. Yes, sir.

Q. Sometimes there's law enforcement

interaction out there?

A. Yes, sir.

Q. Lawyers talking to law enforcement
officers?

A. Yes, sir.

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Q. Who asked you to transport Ms. Ashbrook?
A. I believe it was Deputy Crowe.

Q. And that was while you were up here?

A. Yes. We were discussing who would bring

her down to the jail, I believe.

Q. And you transported her, correct?

A. Yes, sir.

Q. And you were nice to her.

A. Yes, sir.

Q. You certainly didn't injure her.

A. No, sir.

Q. You indicated that she wasn't completely

cooperative during the transport --

A. As I said before, from memory I believe
one point or another she did sit down at the floor rather
quickly and she was sitting there crying and arguing, but
like I said I -- at that point in time I did grab her by
the arm and was talking to her and told her she needed to

stand up, that we needed to go ahead and just get it over

with.
Q. Was she handcuffed at that time?
A. Yes.
Q. So when she went down to the floor she

was already handcuffed?
A. Yes.

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Q. She was crying she was handcuffed?
A. Weiss
Q. And her sitting down on the floor that

wasn't anything you asked her to do.

A. No.

Q. You wanted her to stand up so you could
transport her.

A. Yes, sir.

Q. Can you think of any other interactions
you've had with either Mr. Kelsey or Ms. Ashbrook?

A, None right offhand. Like I said, really
it's just those incidences where I've spoken with them
other than outside the jail.

Q. I think you indicated to Mr. Chancey that

you left Decatur in February this year?

A. Yes.

Q. 2024?

A. Yes, sir.

Q. Oh, the day of this incident were you in

a position to observe Mr. Kelsey as to whether or not he
was under the influence?

A. No, sir.

Q. What about her, could she have been under
the influence?

A. It's possible. Like I said, if I had had

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time to observe her more I could give you a better answer.
But, like I said, it wasn't shortly after she entered the
hallway area that it was ordered for her to be given a drug
test.

Q. When you say it's possible, what was she
doing that made you think maybe it's possible that she was
under the influence?

A. Past experience of dealing with her. It's
one of those ordeals where I wouldn't have been surprised
if you'd say that she was messed up on something.

Q. Was she messed up in either of the two
occasions that you talked to her before?

A. I don't know. Like I said, my dealings
with her was strictly her being another person at the
scene,

Q. Is it fair to say that at the time of
this incident when she was in the hallway she was not

acting normally?

A. Yes, sir.
Q. It's fair to say that?
A. Yes, sir.

MR. KNIGHT: That's all I have.

EXAMINATION

BY MR. ROGERS:

Q. Mr. Whiting, I'm Matthew Rogers.

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A. Yes, sir.

Q. Good to see you here this morning, or
maybe it's afternoon now. When you arrived at the
courthouse, we watched that on video, that was the first
interaction you had with Ms. Ashbrook on May 11. Is that
correct?

A. I believe so.

Q. That day because you've told us about
your previous experience.

A. Yes, sir.

Q. You didn't observe her for more than
several minutes before you were in charge of transporting
her.

A. Yes, sir.

Q. So you didn't have an opportunity to

conduct any field sobriety testing --

A. No, sir.

Q. -- or anything other than those brief
observations. Is that correct?

A. That's correct.

Q. And you said that you believed based on

memory that when you passed the metal detectors there, you
talked to us about it, you think you heard Judge Stokes
order her to be drug tested?

A. Yes, sir.

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1 Q. Do you remember what words were used that

2 particular time? Was it drug test her, or, yes, she's the
B one, or anything to that effect?

4 A. I can't remember word for word, but I do

5 recall there being something said along the line of drug

6 test that woman, I believe.

7 Q. Okay. Could it have been test her or

8 check her out?

9 A. Something to that degree.

10 Q. Could have been any number of things?

11 A. Yes, sir.

12 Q. And do you know, and maybe you don't have

13 any foundation for this, but do you know whether when
14 Mr. Kelsey was tested it was at the direction of Judge
15 Stokes or not?

16 A. I would assume so.

17 Q. Do you know whether or not Judge Stokes
18 indicated to law enforcement that those two need to be
19 checked out or tested?

20 A. I wasn't up there at the time of that.
21 I believe at one point or another there was an incident
22 inside the courtroom, but I don't know.

23 Q. Have you talked to Ben Christian, the
24 county deputy, about this specific incident?

25 A. No, sir.

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' Q. Okay.

A. Not to my memory. We've not spoken since

he

3} that day, I believe.

4 Q. Okay. In Ms. Ashbrook's complaint it

5 alleged Mr. Christian was the one that pulled her up off

6 the ground by the arm, but you indicate to us here today

7 that that was you --

8 A. Yes, sir.

9 Q. -- that was appropriately touching her and
10 saying, Hey, come on, we've just got to get this over with?
11 A. Yes, sir. To my memory, I believe Ben

12 Christian was the one that transported him to the jail. I
13 think he was still standing outside with Mr. Kelsey when I
14 arrived.

15 Q. Okay. And so he wouldn't have had an

16 opportunity to pick her up after she had been --

1 A. No, sir.

18 Q. -- in handcuffs. Is that correct?

19 A. That's correct.

20 Q. And at no point in time during the year

34 2023 did you work for the county, Meigs County.

22 A. No, Sir.

23 Q. Just the city.

24 A. That's correct.

25 Q. But you're still a resident here in

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Meigs County.

A. That's correct.

Q. You weren't present for Mr. Kelsey's drug
test sample. Is that correct?

A. That's correct. I arrived shortly after
I believe it was conducted. I can't remember the time on
the video feed, but I know that they were already down
there conducting it when I arrived.

Q. From the time that you heard whatever
direction or confirmation that Ms. Ashbrook was to be
tested did she indicate to you that she was refusing to be
tested or did she submit to the test?

A. She did submit to the test. She didn't --
from memory it doesn't seem that she knew why she was
being tested. Again, she was using some, if I remember
correctly, she was using vulgarity, but it may have been
BS that this was happening. I can't remember in detail as
far as what was being said.

Q. Okay. Did it surprise you that she was
positive for amphetamines?

A. No, sir.

Q. In your experience as a law enforcement
officer you've arrested actually her boyfriend before --

A. Yes, sir.

Q. -- for methamphetamine violations?

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A. Something along that line, I believe.

Q. Do you remember specifically what she
told you happened when you were transporting her to the
jail?

A. She just kept saying that she didn't
understand why it was happening to her, that she was there
in support of her boyfriend whom I had arrested and she
didn't know why she was being arrested and why she was
being drug tested.

Q. And you were kind to her during this
transport, right?

A. Yes, sir.

Q. Even suggested she find a lawyer if she
disagreed, right?

A. Yes, sir.

Q. Did she object to the results of the test
or just to the fact that she was being tested?

A. I believe to the fact that she was being
tested.

Q. She never said, There's no way that I
tested positive for that, I don't do drugs?

A. Not from memory.

Q. Okay. And you were kind and cordial and
professional with her even though you've had other

incidences where she would curse you and disagree with you.

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